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			2020 OpinionsWeb Editor2020-01-13T08:29:36-05:00
			
			
				
					
						DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.
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January
January 13, 2020

S19A1004. WHITE v. THE STATE
S19A1005. DOYLE v. THE STATE
S19A1079. THE STATE v. STEPHENS et al.
S19A1151. FLOWERS v. THE STATE
S19A1187. DAVIS v. THE STATE
S19A1284. GASTON v. THE STATE
S19A1298. DRIVER v. THE STATE
S19A1427. SWIMS v. THE STATE
S19A1493, S19A1494. FLOYD v. THE STATE
S19A1551. BANKSTON v. THE STATE
S19A1572. HARRIS v. THE STATE
S19A1573. CHAVEZ v. THE STATE
S19A1641. PERDOMO v. THE STATE
S19Y1650. IN THE MATTER OF RICHARD M. COLBERT
S20Y0434. IN THE MATTER OF DAVID GODLEY RIGDON



					
				
							
																													
	
						
					  
				  
				
				
													
					
							
	
		
			
				
																									
							LocationSupreme Court of Georgia
Nathan Deal Judicial Center
330 Capitol Avenue, S.E.
1st Floor, Suite 1100
Atlanta, Georgia 30334
Phone: (404) 656-3470
Fax: (404) 656-2253
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											News and Reports		
											
					12/6/2019 – GEORGIA’S COURTS URGED TO REQUIRE SEXUAL HARASSMENT PREVENTION TRAINING AND POLICIES
									
											
					12/5/2019 – JUSTICE ROBERT BENHAM TO RESIGN IN MARCH
									
											
					11/26/2019 – SUPREME COURT MOVE TO NATHAN DEAL JUDICIAL CENTER
									
					
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